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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY

                                        Case No. 2:20-cv-12880-JMV-JAD
  DANIEL D’AMBLY,

                           Plaintiff,
                                                    Civil Action
                   v.

  CHRISTIAN EXOO a/k/a ANTIFASH
  GORDON; ST. LAWRENCE                  Motion Date: December 7, 2020
  UNIVERSITY; TRIBUNE PUBLISHING
  COMPANY; NEW YORK DAILY NEWS;
  VIJAY GADDE; TWITTER, INC.;
  COHEN, WEISS AND SIMON LLP,

                          Defendants.




 MEMORANDUM OF LAW ON BEHALF OF DEFENDANT COHEN, WEISS AND SIMON
 LLP IN SUPPORT OF ITS MOTION TO DISMISS COUNT XIII OF
 PLAINTIFF’S COMPLAINT



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                           PRELIMINARY STATEMENT

       Cohen, Weiss and Simon LLP (“CWS”) files this motion to

 dismiss Count XIII of the Complaint of Plaintiff, Daniel D’Ambly

 (“Plaintiff” or “D’Ambly”) with prejudice.             In this Count, the

 sole Count of the Complaint asserted against CWS, Plaintiff alleges

 a claim of legal malpractice arising from CWS’ representation of

 Local     One-L,     Graphic    Communications       Conference    of    the

 International Brotherhood of Teamsters (the “Teamsters Union”) in

 a labor arbitration challenging D’Ambly’s termination by the New

 York Daily News (“Daily News”).

       This claim of legal malpractice fails as a matter of law.

 Legal   precedent,    including    binding   precedent     from   the   Third

 Circuit Court of Appeals, compels the dismissal of this claim

 because there is no attorney-client relationship between Plaintiff

 and CWS, which represents the Teamsters Union, not its constituent

 member.

                             PROCEDURAL HISTORY

       On September 21, 2020, D’Ambly filed a Complaint with jury

 demand against Defendants, Christian Exoo a/k/a Antifash Gordon

 (“Exoo”), St. Lawrence University, Tribute Publishing Company

 (“Tribute”), Daily News, Vijaya Gadde, Twitter, Inc. (“Twitter”)

 and     CWS    (collectively      referred      to    as    “Defendants”).

 (Certification of Michael J. Canning, Esq. (the “Cert. Canning”)

 at Exhibit A).


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       Count   XIII    of   the   Complaint     alleges   a   claim    of   legal

 malpractice against CWS, which is the only count of the Complaint

 directed to CWS.      (Cert. Canning, Exhibit A, pp. 31-32).

       On October 22, 2020, CWS filed its Answer to Plaintiff’s

 Complaint,    denying      all   allegations    of   legal   malpractice     and

 setting    forth     separate     defenses     and   cross   claims    against

 Defendants.      (Cert. Canning, Exhibit C).1            CWS pleaded as its

 second affirmative defense that Plaintiff’s Complaint must be

 dismissed as to CWS for failure to state a claim upon which relief

 can be granted and reserved its right to move to dismiss the

 Complaint.    Id.

       CWS now files this motion to dismiss Plaintiff’s Complaint as

 to CWS with prejudice pursuant to Rule 12(c).

                              STATEMENT OF FACTS2

       Plaintiff D’Ambly was a member of the Teamsters Union and

 worked as a plate maker for the Daily News in Jersey City, New

 Jersey until January 18, 2019, when the Daily News terminated him.

 (Cert. Canning, Exhibit A, ¶2).




 1 On October 23, 2020, the Court entered a Consent Order Granting
 Motion for Extension in which to File Answer or otherwise Move.
 (Cert. Canning, Exhibit B).
 2 Although the Complaint contains various misstatements of fact,
 CWS will accept the allegations of the Complaint as true for the
 purposes of this motion only.

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       Plaintiff is a member of the European Heritage Association

 and     participates     in    political        rallies,   political        protests,

 pamphleteering and speech, which he contends is protected by the

 U.S. Const. Amend. I and N.J. Const. Art. I, ¶6.                 (Cert. Canning,

 Exhibit A, ¶14).

       Defendant Exoo is an alleged member of Antifa who uses the

 Twitter    username      @Antifash    Gordon.        D’Ambly    accuses      Exoo   of

 conducting “doxing” campaigns to publicly disclose the identity,

 employer, school, and home addresses of white supremacists and

 fascists in an attempt to get them fired from their jobs. (Cert.

 Canning, Exhibit A, ¶¶1, 15).

       As alleged in the Complaint, in or about January 2018, Exoo

 identified D’Ambly as a white supremacist, and in October 2018,

 revealed D’Ambly’s full identity, place of employment and other

 information.       (Cert. Canning, Exhibit A, ¶¶19, 24, 28). D’Ambly

 alleges     that    Exoo      and   his    associates      directed     harassing,

 intimidating       and   death-threatening         phone   calls      and     Twitter

 “tweets” to the Daily News in order to try to get D’Ambly fired.

 (Cert. Canning, Exhibit. A, ¶25).

       In December 2018, the Tribune, the parent company of the Daily

 News,     conducted      an    investigation        resulting    in    a      Private

 Investigation Report (“Report”) that confirmed through videography

 evidence that D’Ambly and others had used racial slurs and other




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 hate speech during political rallies.           (Cert. Canning, Exhibit A,

 ¶¶26, 30).

        On January 10, 2019, D’Ambly, accompanied by a representative

 of     the   Teamsters   Union,   met    with    Tribune     and   Daily     News

 representatives.       During the meeting, the Report was discussed and

 D’Ambly acknowledged that he was a member of the European Heritage

 Association and had used imprudent language at protests.                   (Cert.

 Canning, Exhibit A, ¶30).

        D’Ambly alleges that on January 11, 2019, in an attempt to

 stop    a    protest   the   following   day    by   the   European   Heritage

 Association, Exoo and his associates sent to the Daily News death

 threats and threatening calls.           (Cert. Canning, Exhibit A, ¶32).

 Later that day, the Daily News issued D’Ambly a “Last and Final

 Warning.” (Cert. Canning, Exhibit A, ¶39).

        D’Ambly alleges that on January 16, 2019, the Daily News

 blamed him for death threats it had received, and terminated his

 employment. (Cert. Canning, Exhibit A, ¶43).

        Thereafter, the Teamsters Union filed a grievance against the

 Daily News challenging D’Ambly’s termination, pursuant to the

 terms of the collective bargaining agreement.              The Teamsters Union

 engaged CWS, a law firm, to handle the grievance and arbitration.

 (Cert. Canning, Exhibit A, ¶¶10, 44, 48).

        On or about July 15, 2019, the Daily News, the Teamsters

 Union, and D’Ambly executed a Separation Agreement resolving the

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 grievance and arbitration.       The Daily News paid D’Ambly a lump sum

 payment and in exchange the Teamsters Union withdrew the grievance

 and arbitration with prejudice. (Cert. Canning, Exhibit A, ¶53).

       The sole cause of action pleaded against CWS is Count XIII of

 the Complaint, which alleges legal malpractice relating to the

 legal services provided by CWS relating solely to the grievance

 and arbitration between the Teamsters Union and the Daily News.

 (Cert. Canning, Exhibit A, ¶¶ 48-53, 154-161).             D’Ambly alleges

 that in connection with the grievance and arbitration, he spoke

 with CWS attorneys Thomas Kennedy and Kate Swearengen, and that

 both attorneys allegedly expressed their disagreement as to his

 political positions. D’Ambly asserts that CWS failed to adequately

 represent and protect his rights as a result of its attorneys’

 personal revulsions to his politics.          (Cert. Canning, Exhibit A,

 p. 31, ¶155).       D’Ambly alleges that CWS neglected to perform

 necessary case research, legal research and investigation of the

 accusations against him and contends that this failure resulted in

 their inability to protect him from the extortionate and criminal

 conduct of others.     (Cert. Canning, Exhibit A, p. 31, ¶¶156 & 157).

 D’Ambly alleges that an investigation would have determined that

 @AntiFashGordon     publicly    announced     D’Ambly’s    termination     on

 January 13, 2019, five days before his official termination date

 and one day before the Daily News discovered the purported “cause”

 for his termination.        (Cert. Canning, Exhibit A, p. 31, ¶158).

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  D’Ambly     alleges       that    CWS     failed      to     challenge      blatant

  misrepresentations by the Daily News regarding the timing of the

  alleged cause of his termination.              (Cert. Canning, Exhibit A, p.

  32,   ¶159).     D’Ambly     further     alleges      that    CWS’    revulsion   of

  D’Ambly’s political views caused CWS to ignore that his termination

  was racially discriminatory and pre-textual.                        (Cert. Canning,

  Exhibit A, p. 32, ¶160).          D’Ambly contends that he has suffered

  adverse    consequences     and   continues      to    be    damaged,    and   seeks

  compensatory damages, equitable and declaratory relief, punitive

  damages, costs and reasonable attorneys’ fees and other damages.

  (Cert. Canning, Exhibit A, p. 32, ¶161).

                               STANDARD OF REVIEW

        The Third Circuit has explained that a court may grant a Rule

  12(c) motion for judgment on the pleadings when “no material issue

  of fact remains to be resolved and [the movant] is entitled to

  judgment as a matter of law.”            Rosenau v. Unifund Corp., 539 F.3d

  218, 221 (3d Cir. 2008)(quoting Jabolonski v. Pan Am. World

  Airways,    Inc.,   863    F.2d   289,    290-91      (3d    Cir.    1988)(internal

  quotation marks and citations omitted)).

        “The difference between Rule 12(b)(6) and Rule 12(c) is purely

  procedural and 12(c) requests for dismissal are governed by the

  same standards as 12(b)(6) motions.”               Glob. Naps. Inc. v. Bell

  Atl. N.J. Inc., 287 F.Supp. 2d 532, 530 (D.N.J. 2003).                         For a

  complaint to survive dismissal under Rule 12(b)(6), or Rule 12(c),

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  it must contain sufficient factual matter to state a claim that is

  plausible on its face.         Ashcroft v. Iqbal, 556 U.S. 544, 570

  (2007).    In evaluating the sufficiency of a complaint, district

  courts must separate the legal and factual elements.             Fowler v.

  UPMC Shadyside, 578 F.3d 203, 210-211 (3d Cir. 2009).                   Mere

  restatements of the elements of a claim are legal conclusions and

  therefore are not entitled to an assumption of truth.             Burtch v.

  Milberg Factors Inc., 662 F.3d 212, 224 (3d Cir. 2011).                  The

  pleading must contain more than “labels and conclusions or a

  formulaic recitation of the elements of a cause of action.”

  Ashcroft v. Iqbal, 556 U.S. at 678.         The court “need not credit a

  complaint’s ‘bald assertions’ or ‘legal conclusions.’”                In re

  Burlington Coat Factory Sec. Litig., 114 F.3d 1410, 1429 (3d Cir.

  1997).

                                LEGAL ARGUMENT

                                    POINT I

             THIS COURT SHOULD DISMISS COUNT XIII OF
             PLAINTIFF’S COMPLAINT WITH PREJUDICE UNDER
             RULE 12(C) AS THERE IS NO LEGAL BASIS FOR THE
             LEGAL MALPRACTICE CLAIM AGAINST CWS.

  A.    As a Matter of Law, There Is No Attorney-Client Relationship
        between Plaintiff and CWS, as CWS Represented the Union in
        the Grievance and Arbitration.

        In order to sustain a cause of action for legal malpractice

  under New Jersey law, an attorney-client relationship must be

  established between the plaintiff and the defendant which imposes



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  upon the defendant a duty of care to the plaintiff.                        Jerista v.

  Murray, 185 N.J. 175, 190-91 (2005).

         Where, as here, an attorney represents a union in a labor

  grievance on behalf of a union member as part of the collective

  bargaining process, the attorney represents the union and no

  attorney client relationship is entered into between the attorney

  and the union member.              Because Plaintiff cannot prove the prima

  facie element of a legal duty owed by CWS to him, his claim for

  legal malpractice against CWS is unsustainable as a matter of law.

         As all of the factual allegations and the sole cause of action

  against      CWS     arise   out    of   and    relate       to   the   grievance   and

  arbitration which are part of the collective bargaining process,

  CWS is immune from suit for malpractice by Plaintiff as a member

  of the Teamsters Union.

         In Carino v. Stefan, 376 F.3d 156 (3d Cir. 2004), the Third

  Circuit Court of Appeals unequivocally ruled that Section 301(b)

  of    the    Labor    Management      Relations    Act       (“LMRA”),     as   broadly

  interpreted by the United States Supreme Court in Atkinson v.

  Sinclair Refinancing Co., 370 U.S. 238 (1962), immunizes from suit

  for legal malpractice attorneys hired by unions to perform services

  related to a collective bargaining agreement.

         In Carino, plaintiff was employed as an insurance agent and

  was   a     member    of   the   union   that    had     a    collective   bargaining

  agreement with her employer.             When plaintiff’s employer terminated

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  her employment (for misconduct in selling insurance policies), the

  union filed a grievance under the procedures established by the

  collective bargaining agreement.               The union thereafter engaged a

  law    firm    to    handle    the    arbitration    challenging        plaintiff’s

  termination, and the law firm appointed one of its attorneys for

  this    purpose.          Plaintiff    thereafter     executed     a    settlement

  agreement in which she agreed to forego arbitration because the

  attorney assured her that in exchange, her employer would clear

  her of the charges and reinstate her pension. When plaintiff

  realized that the documents she signed made no reference to such

  concessions         by   her   employer,    she    brought     claims    of   legal

  malpractice against the firm and the attorney. Carino, 376 F.3d at

  158-59.

         This   Court      dismissed    the   complaint   with    prejudice     under

  Fed.R.Civ.P. 12(b)(6) for failure to state a claim.                      The Third

  Circuit Court of Appeals affirmed the dismissal of the complaint

  and made clear that the attorney enjoyed immunity:

                This appeal presents a question of first
                impression for our Court, namely, whether an
                attorney hired by a union to perform services
                on behalf of a union member in connection with
                an arbitration hearing conducted pursuant to
                a collective bargaining agreement is immune
                from suit for malpractice by that member. We
                conclude that the LMRA bars such a suit.
                [Carino, 376 F.3d at 159.]

         In reaching this conclusion, the Third Circuit explained that

  “the law is clear that individual union officers are not personally

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  liable to third parties for actions taken on behalf of the union

  in the collective bargaining process.”            Id. at 159-160.3       The

  Carino court found that “with monotonous regularity [other courts

  of appeals have] cited Atkinson to foreclose state-law claims,

  however inventively cloaked, against individuals acting as union

  representatives within the ambit of the collective bargaining

  process.”     Id. at 160 (internal quotation marks and citations

  omitted).

        With respect to the specific issue of the applicability of

  Atkinson to attorneys who act on behalf of a union to assist a

  union member in a labor arbitration, the Third Circuit recognized

  that other courts of appeals had all reached the same result:

              The only courts of appeals to have considered
              the specific question presented here, where
              attorneys acted on behalf of the union, have
              uniformly concluded that Atkinson prohibits
              claims made by a union member against
              attorneys employed by or retained by the union
              to represent the member in a labor dispute.
              See Waterman v. Transport Workers Union Local
              100, 176 F.3d 150 (2d Cir. 1999)(“[U]nder
              Atkinson, a union’s attorneys may not be sued
              by an individual union member for actions
              taken pursuant to a collective bargaining
              agreement.”); Arnold v. Air Midwest Inc., 100
              F.3d 857, 862 (10th Cir. 1996) (“[A]n attorney
              who performs services for and on behalf of a


  3 The Third Circuit had previously recognized that Atkinson
  protects individual union members and officers from suit from
  alleged union wrongs. See e.g., Wilkes-Barre Pub. Co. v. Newspaper
  Guild of Wilkes-Barre, Local 120, 647 F.2d 372, 377 (3d Cir. 1981);
  Republic Steel Corp. v. United Mine Workers of America, 570 F.2d
  467, 478 (3d Cir. 1978).

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             union may not be held liable in malpractice to
             individual   grievant   where    the   services
             performed constitute a part of the collective
             bargaining process.”); Breda v. Scott, 1 F.3d
             908, 909 (9th Cir. 1993) (holding that
             employees cannot sue inside or outside counsel
             for services rendered under a collective
             bargaining    agreement);    Montplaisir    [v.
             Leighton, 875 F.2d 1, 7 (1st Cir. 1989)]
             (“[F]or purposes of the Atkinson principle,
             [attorneys] must be treated the same as other
             union agents.”); Peterson v. Kennedy, 771 F.2d
             1244, 1258 (9th Cir. 1985), cert. denied, 475
             U.S. 1122, 106 S.Ct. 1642, 90 L.Ed. 2d 187
             (1986) (“[W]here, as here, the attorney
             performs   a   function   in   the   collective
             bargaining process that would otherwise be
             assumed by the union’s business agents or
             representatives, the rationale behind the
             Atkinson rule is squarely applicable.”)
             [Id. at 160.]

        As one court has explained, a union may choose to have

  grievances    handled    by   a   union   representative       with   no   legal

  training, or by an attorney.        When a union chooses to make use of

  an attorney, that attorney has not “entered into an ‘attorney-

  client’ relationship in the ordinary sense with the particular

  union member” at issue. Peterson, 771 F.2d at 1258 (internal

  quotations    in   the   original).           Rather,   the   attorney     merely

  “assume[s] a function that often is performed by a union’s business

  agents or representatives.”        Peterson, 771 F.2d at 1258.           When it

  is the union which provides the services, albeit through assigned

  counsel, it is the union, rather than the individual business agent

  or attorney, that represents and is ultimately responsible to the

  member.   Id.

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         In   Carino,    the    Third     Circuit      cited   several   policy

  considerations for not permitting members to bring malpractice

  claims against union attorneys handling labor grievances under a

  collective bargaining agreement.           First, the court noted that it

  would be “anomalous” if the union attorney could be liable for

  mere negligence where the union would be liable only if a higher

  standard were met, namely arbitrariness or bad faith.            376 F.3d at

  161.

         Second, because state statutes of limitation for malpractice

  are generally longer than the statutes of limitation for a union

  member to file suit against the union or employer, if union

  attorneys were subject to such malpractice suits, litigants would

  be able to proceed against the attorney long after their time for

  suing   the   union   and    the   employer    had   expired.   Id.    (citing

  Peterson, 771 F.2d at 1259).4

         Finally, the Third Circuit recognized that if union members

  were permitted to sue union attorneys, the attorneys could be held

  liable for damages “flowing from the union’s political or tactical

  choices” which “could, in turn, severely hamper unions in enlisting

  quality representation.”       Id. (citing Montplaisir, 875 F.2d at 7).




  4 Any claim against the Teamsters Union is time-barred by the
  applicable six-month statute of limitations. See §301 of the LMRA,
  29 U.S.C. §185; §10(b) of the National Labor Relations Act, as
  amended, 29 U.S.C. §160(b).

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         “[G]uided by Atkinson [] and the logic of the opinions” of

  the other courts of appeals, the Third Circuit held that “§ 301 of

  the LMRA immunizes attorneys employed by or hired by unions to

  perform services related to a collective bargaining agreement from

  suit for malpractice.”      Id. at 162.

         Here, the sole allegations against CWS relate to the services

  it provided on behalf of the Teamsters Union in the grievance and

  arbitration process, which are part of the collective bargaining

  agreement between the Daily News and the Teamsters Union.             Under

  the clear and unequivocal holding in Carino, CWS is immune from

  D’Ambly’s claim of legal malpractice.

                                  CONCLUSION

         Based on the foregoing arguments, Defendant Cohen, Weiss

  and Simon LLP respectfully requests that the Court dismiss Count

  XIII of the Complaint with prejudice.



                                        GIORDANO, HALLERAN & CIESLA
                                        A Professional Corporation
                                        Attorneys for Defendant Cohen,
                                        Weiss and Simon LLP




                                By:
                                      MICHAEL J. CANNING, ESQ.

  Dated:     November 9, 2020


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